
PER CURIAM.1
Writ granted in part; otherwise denied. The record shows that the contempt adjudication did not comply with La.C.Cr.P. art. 22, which provides: “A person who has committed a direct contempt of court may be found guilty and punished therefor by the court without any trial, after affording him an opportunity to be heard orally by way of defense or mitigation.” See also In re Judge Sassone, 2007-0651 (La.6/29/07), 959 So.2d 859; State v. Williams, 97-1135 (La.App. 5th Cir.5/27/98), 714 So.2d 258. Here, relator was not afforded an opportunity to be heard orally by way of defense or mitigation. Therefore, the finding of direct contempt is reversed, and relator’s sentence of six months imprisonment for contempt is vacated. Relator’s request for a stay is rendered moot.
VICTORY and CLARK, JJ., would deny.

. Kimball, C.J., not participating.

